            Case 1:18-cv-01073-CRC Document 7 Filed 06/14/18 Page 1 of 4



                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
______________________________________
                                       )
BENJAMIN WITTES,                       )
                                       )
            Plaintiff,                 )
                                       )
      v.                               ) Civil Action No. 1:18-cv-01073 (CRC)
                                       )
U.S. DEPARTMENT OF STATE,              )
                                       )
            Defendant.                 )
______________________________________ )


                DEFENDANT’S ANSWER TO PLAINTIFF’S COMPLAINT

       Defendant, U.S. Department of State (“Defendant”), by and through undersigned

counsel, respectfully submits the following Answer to Plaintiff’s Complaint filed on May 7,

2018, and states as follows:

                                            DEFENSES

       1.      As to some or all of the claims asserted in this action, Plaintiff has failed to state a

claim upon which relief can be granted.

       2.      The Court lacks subject matter jurisdiction over any requested relief that exceeds

the relief authorized by the Freedom of Information Act (“FOIA”), 5 U.S.C. § 552.

       3.      Plaintiff is not entitled to compel production of records exempt from disclosure by

one or more exemptions to the FOIA.

       4.      Plaintiff’s FOIA request does not reasonably describe the records sought.

       5.      Plaintiff’s FOIA request would impose an unreasonable burden.




                                                  1
              Case 1:18-cv-01073-CRC Document 7 Filed 06/14/18 Page 2 of 4



              DEFENDANT’S RESPONSES TO THE NUMBERED PARAGRAPHS

         Defendant denies all allegations in the Complaint, including the relief sought, except as

specifically admitted in this Answer. Defendant admits, denies, or otherwise answers the

numbered paragraphs in the complaint as follows:

         1-4.     The allegations in these paragraphs contain Plaintiff’s characterization of alleged

background information and not allegations of fact pertinent to this FOIA action to which a

response is required.

         5.       Defendant admits that Plaintiff submitted a FOIA request to the Department of

State dated January 19, 2018. Defendant respectfully refers the Court to the request for a full

and accurate statement of its contents and denies any allegations inconsistent therewith. The

remaining allegations in this paragraph do not set forth a claim for relief or aver facts in support

of a claim to which a response is required.

         6.       The first sentence of this paragraph consists of conclusions of law to which no

response is required. The second sentence of this paragraph consists of Plaintiff’s

characterization of the relief sought in this action to which no response is required.

                                      JURISDICTION AND VENUE 1

         7.       This paragraph consists of conclusions of law regarding jurisdiction to which no

response is required.

         8.       This paragraph consists of conclusions of law regarding venue to which no

response is required.




1
  Merely for ease of reference, Defendant’s Answer replicates the headings contained in the Complaint. Although
Defendant believes that no response is required to such headings, to the extent a response is deemed required and to
the extent those headings and titles could be construed to contain factual allegations, those allegations are denied.

                                                          2
            Case 1:18-cv-01073-CRC Document 7 Filed 06/14/18 Page 3 of 4



                                               PARTIES

       9.       Defendant lacks knowledge or information sufficient to form a belief as to the

truth of the allegations in this paragraph.

       10.      Defendant admits the first sentence of this paragraph. The second sentence of this

paragraph consists of legal conclusions to which no response is required.

                                      STATEMENT OF FACTS

       11-20.             The allegations in these paragraphs contain Plaintiff’s characterization of

alleged background information and not allegations of fact pertinent to this FOIA action to which

a response is required.

       21.      Defendant admits that Plaintiff submitted a FOIA request dated January 19, 2018.

       22.      Defendant respectfully refers the Court to the referenced request for the full and

accurate statement of its contents and denies any allegations inconsistent therewith.

       23.      Defendant admits the allegations in this paragraph and respectfully refers the

Court to the FOIA request for the full and accurate statement of its contents.

       24.      Defendant admits that it sent an email to Scott Anderson on February 12, 2018.

Defendant respectfully refers the Court to for the email for the full and accurate statement of its

contents and denies any allegations inconsistent therewith.

       25.      Defendant admits that it sent an email to Quinta Jurecic and Benjamin Wittes on

February 9, 2018, and received an email from Scott Anderson dated February 12, 2018.

Defendant respectfully refers the Court to for the email exchange for the full and accurate

statement of its contents and denies any allegations inconsistent therewith.

       26.      This paragraph consists of conclusions of law to which no response is required.




                                                    3
           Case 1:18-cv-01073-CRC Document 7 Filed 06/14/18 Page 4 of 4



         27.    The first sentence of this paragraph consists of conclusions of law to which no

response is required. With respect to the second sentence in this paragraph, Defendant admits

that it has not issued a final determination regarding Plaintiff’s request for a fee waiver.

                                              COUNT I

         28.    Defendant answers and incorporates by reference its responses to paragraphs 1-27

above.

         29.    This paragraph states a conclusion of law to which no response is required. To

the extent a response is deemed necessary, Defendant denies the allegations in this paragraph.

         The remainder of the Complaint consists of Plaintiff’s requests for relief, to which no

response is required. To the extent a response is deemed necessary, Defendant denies that

Plaintiff is entitled to the relief requested or to any relief whatsoever.

                                         Respectfully submitted,

                                         JESSIE K. LIU, D.C. Bar. No. 472845
                                         United States Attorney

                                         DANIEL F. VAN HORN, D.C. Bar No. 924092
                                         Chief, Civil Division

                                By:     /s/ Damon Taaffe
                                         DAMON TAAFFE, D.C. Bar No. 483874
                                         Assistant United States Attorney
                                         555 Fourth Street, N.W.
                                         Washington, D.C. 20530
                                         (202) 252-2544
                                         damon.taaffe@usdoj.gov




                                                   4
